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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 BOARD OF TRUSTEES SHEET METAL
 WORKERS’ NATIONAL PENSION FUND,
  et al.
                                                         Case No. 1:22-cv-1294-PTG-WEF
                               Plaintiffs,
 v.

 NEW YORK CHUTES, LLC,

                               Defendant.

                               BRIEF IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT

        Plaintiffs, the separate and individual Boards of Trustees of the Sheet Metal Workers’

 National Pension Fund (“NPF”), the International Training Institute for the Sheet Metal and Air

 Conditioning Industry (“ITI”), the National Stabilization Agreement of the Sheet Metal Industry

 Trust Fund (“SASMI”), the Sheet Metal Workers’ Occupational Health Institute Trust

 (“SMOHIT”), and the National Energy Management Institute Committee (“NEMIC”), (NPF, ITI,

 SASMI, SMOHIT, and NEMIC collectively referred to as “the Funds”), submit this Brief in

 Support of their Motion for Default Judgment against Defendant New York Chutes, LLC (“NY

 Chutes”) for unpaid contributions, liquidated damages, interest, audit fees and attorneys’ fees and

 costs incurred by the Funds pursuant to the collective bargaining agreements to which Defendant

 NY Chutes was bound, either by signature or by adoption by conduct.

                                   STATEMENT OF FACTS

        A.      The Parties and the Applicable Agreements

        Plaintiffs are employee benefit plans/trust funds or joint labor-management organizations

 administered from offices located in Falls Church, Virginia. See Second Amended Complaint ¶¶
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 5-9; see Declaration of Robert Geisler at (“Geisler Decl.”) ¶ 3.1 The Trustees are “fiduciaries”

 within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and are empowered

 to bring this action pursuant to Sections 502(a)(3) and 502(g)(2) of ERISA, 29 U.S.C. §§

 1132(a)(3) and 1132(g)(2). Defendant NY Chutes is an employer incorporated in the state of

 Delaware. See Second Am. Compl. ¶ 11.

        The Sheet Metal & Air Conditioning Contractors Association of New York City, Inc. and

 SMACNA of Long Island, Inc. (collectively, “SMACNA”) entered into a collective bargaining

 agreement with the International Association of Sheet Metal, Air, Rail and Transportation Workers

 f/k/a the Sheet Metal Workers’ International Association, Local Union No. 28 (“Union” or “Local

 28”) effective for the period of August 1, 2014 through July 31, 2017 (“2014 CBA”). Geisler Decl.

 ¶ 4; See Ex. 1. NY Chutes executed a Memorandum of Understanding binding them to the CBA

 between SMACNA and Local 28 on October 6, 2015, which was effective through at least July

 31, 2017. Geisler Decl. ¶ 4; See Ex. 2.

        SMACNA and Local 28 entered into a Memorandum of Agreement modifying and

 extending the terms of the 2014 CBA through July 31, 2020 (“2017 CBA”). Geisler Decl. ¶ 5; Ex.

 3. SMACNA and Local 28 then agreed to extend the 2017 CBA through October 31, 2020.

 SMACNA and Local 28 then negotiated a successor agreement effective for the period of

 November 1, 2020 through October 31, 2021 (“2020 CBA”). See Declaration of Robert Geisler

 dated July 19, 2023 (“July 2023 Geisler Decl.”) attached hereto at, ¶ 5; see Ex. A2.




 1
   The Declaration of Robert Geisler dated March 30, 2023 and Exhibits 1 through 8 referenced
 herein are attached to the Plaintiffs’ First Motion for Default Judgment. See Dkt. No. 32-1.
 2
   The July 2023 Declaration of Robert Geisler and Exhibits A through D referenced herein are
 attached hereto.
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         Pursuant to Article XII, Sections 21-23 of the CBAs, employers which are bound to the

 CBAs are obligated to submit monthly remittance reports and fringe benefit contributions to NPF,

 ITI, SASMI, SMOHIT, and NEMIC for all hours paid on behalf of its covered employees within

 the jurisdiction of Local 28. Ex. 1, Art. XII, Secs. 21-23. Further, Article III, Section 2 of the CBAs

 prohibits bound employers from subcontracting covered work to employees outside of the

 bargaining unit. Geisler Decl. ¶ 6; Ex. 1, Art. III, Sec. 2.

         B.      The Funds’ Governing Documents

         The CBAs and Sheet Metal Workers’ National Pension Fund Trust Document (“Trust

 Document”), which the CBAs incorporate by reference,3 provide rules on payment and remedies

 for a delinquency. See Am. Compl. ¶ 21; Geisler Decl., ¶ 7.

     The rules and remedies are as follows:

     •   Payments due to the Funds are calculated separately for each Fund on remittance reports

         required to be prepared monthly by each contributing employer.

     •   A completed remittance report and accompanying payment must be submitted to the Funds

         by no later than the twentieth (20th) day after the end of each calendar months (the “Due

         Date”) and are delinquent if received thereafter.

     •   Interest is payable on any delinquent contributions is calculated at a rate of 0.0233% per

         day, compounded daily until paid.

     •   Liquidated damages are payable equal to the greater of: fifty dollars ($50.00) or ten percent

         (10%) of the contributions due for each month of contributions that the Company fails to

         pay within 30 days after the due date, but pays before any lawsuit is filed.




 3
   The delinquency/collection rules in the Pension Fund Trust Document have been adopted by
 the other National Funds pursuant to internal management agreements. Geisler Decl., ¶ 7.
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    •   Liquidated damages are payable equal to the greater of: interest on all delinquent

        contributions; or twenty percent (20%) of the contributions that were unpaid on the date

        the lawsuit was filed.

    •   All attorneys’ fees and costs that the Funds incur as a consequence of an employer’s failure

        to comply with its obligations under the CBA and the Trust Document.

 See Geisler Decl., ¶¶ 7, 12.

        Article V, Section 3 of the governing Trust Agreement and Section B of the Introduction

 to the Collection Policy both provide that the Funds may audit a contributing employer for the

 purposes of assuring the accuracy of reports and ensuring that such employer has remitted the

 appropriate amount of contributions to the Funds pursuant to its collective bargaining agreement.

 Ex. 5, Art. V; Ex. 6, Intro. The CBAs also state that the Funds have the authority to audit a

 participating employer. Ex. 1, Art. XII(B), Sec. 21(A) & 25.

        When selected for an audit, participating employers are directed to make available certain

 documents to the auditor, including original time cards/sheets, payroll registers, individual

 earnings records, 941’s, state U/C’s, W-2’s, W-3’s and 1099’s, cash disbursement journals,

 National Benefit Funds remittance reports/records, remittance reports for any other fringe benefit

 fund to which the Employer contributes, personnel records, and such other records as are necessary

 to complete the audit. Ex. 5, Sec. 5(c); Geisler Decl. ¶ 11.

        C.      NY Chutes Compliance with the 2017 and 2020 CBAs

        NY Chutes used the Funds’ internet payment system consistently during the period of

 October 2015 through February 2023 to meet its reporting obligations to the Funds. July 2023

 Geisler Decl. ¶¶ 7-11, Ex. C. Specifically, NY Chutes used the internet payment system to report

 covered hours and to pay corresponding contributions for the period of March through July 2019


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 and it used the internet payment system to report that zero covered hours were worked for the

 periods of August 2017 through February 2019 and August 2019 through December 2020. July

 2023 Geisler Decl. ¶¶ 12, 13, 15, Ex. C, D. The reporting of zero hours in months where a company

 self-reports that it performed no covered work is required by the CBAs at Article XII, Section

 21.E. See Exs. 1, 3, A.

        Employees of NY Chutes for whom hours were reported accrued service credit for those

 hours, which will be used to calculate their pension benefit, if any, upon their retirement. July 2023

 Geisler Decl. ¶ 14.

        NY Chutes also reported hours for the period of March 2019 through July 2019 to Local

 28 and the Local Funds. See Declaration of Eric Meslin (“Meslin Decl.”), at ¶ 9, Meslin Ex. 2.4

 NY Chutes paid the corresponding working assessments on behalf of its covered employees for

 those reported hours. Id. at ¶ 8.

        The 2014, 2017 and 2020 CBAs all obligate employers to comply with payroll audits

 conducted by the NPF to audit their payroll and wage records to determine the accuracy of

 contributions made to the Fund. See Ex. 1, 2014 CBA at Article XII, Section 21.D; Ex. 3, 2017

 CBA (leaving relevant language in the 2014 CBA unchanged); Ex. A, 2020 CBA at Article XII,

 Section 21.D. Here, NY Chutes complied with an audit of its payroll and wage records covering

 the period of July 2016 through December 31, 2020 for both the National Funds and the Local

 Funds. See July 2023 Geisler Decl. ¶ 17; Ex. 7; Meslin Decl., ¶ 10, Meslin Ex. 3. Calibre CPA

 Group performed the audit for the Funds. July 2023 Geisler Decl. ¶ 17. In its audit report, Calibre

 reported that “Mrs. Fox provided the necessary documentation to complete the audit.” Ex. 7, Dkt.




 4
  The Declaration of Eric Meslin and Meslin Exhibits 1 through 3 referenced herein are attached
 hereto.
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 No. 32-1, p. 145.

        NY Chutes acknowledged its obligations under the 2017 and 2020 CBAs in various email

 communications. For example, on March 30, 2022, in response to a question from Calibre about

 worked performed by an employee named Edwin in 2019, Ex. 7, Dkt. No. 32-1, p. 155, NY Chutes

 described the employee as performing work “on the union job,” Ex. 7, Dkt. No. 32-1, p. 154.

 Additionally, on April 22, 2019, NY Chutes acknowledged that it worked “one union job in 2019.”

 Ex. 7, Dkt. No. 32-1, p. 157. It then further alleged that since that time, “our business has been in

 service and repair for non-union customers.” Id.

        Most importantly, NY Chutes sent a letter to Local 28 on December 29, 2021 serving as

 its “official request to withdraw from the SMW Union Local 28 effective December 31, 2021.”

 Meslin Decl., ¶ 7, Meslin Ex. 1. NY Chutes reiterated its understanding in a March 28, 2022 email,

 which was provided to the Funds, in which it stated that “We should be out of the Union and the

 “zero” weekly reporting requirements by now. We requested withdrawal effective 12/31/2021.”

 Ex. 7, Dkt. No. 32-1, p. 157. By requesting withdrawal effective December 2021, NY Chutes

 acknowledged that it was bound by the CBAs through that date.

        D.      Amounts Owed Pursuant to Audit

        The Funds informed NY Chutes of the results of the audit in April 2022. Geisler Decl., ¶

 19; Ex. 7. In response to additional information provided by NY Chutes, in February 2023, the

 Funds revised the audit. Geisler Decl., ¶ 20; Ex. 8.

        The revised audit seeks amounts due resulting from two contract violations. First, the

 revised audit determined that NY Chutes failed to remit reports and contributions for covered work

 at a specific job site. Geisler Decl., ¶ 22; Ex. 8. Second, the audit showed that NY Chutes used

 subcontractors to perform covered work in violation of Article III, Section 2 of the CBAs. Geisler



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 Decl., ¶ 21; Ex. 8. Specifically, based on invoices provided by NY Chutes in response to the audit,

 the Funds’ auditors determined that subcontractors performed covered work. Id. These invoices

 were then used to determine contributions due for the subcontracting violation and interest and

 liquidated damages were assessed in accordance with the Funds’ governing documents. Id.

        As a result of the audit for the period of July 2016 through December 2020, NY Chutes

 owes $12,577.76 in contributions, $5,668.73 in interest (calculated through November 13, 2023),

 and $5,668.735 in liquidated damages. See Declaration of Robert Geisler dated November 15, 2023

 (“November 2023 Geisler Decl.”) attached hereto at, ¶ 3; Ex. 8. Because amounts were found due

 and owing, Defendant is also responsible for the payment of $2,955.50 in audit testing fees

 pursuant to Section 1 of the Collections Policy. November 2023 Geisler Decl., ¶ 3; Ex. 6, Sec.

 1(c). In total, Defendant owes $26,870.72 to the Funds pursuant to the audit. November 2023

 Geisler Decl., ¶ 3.

        E.      Procedural History

        On November 15, 2022, Plaintiffs filed a Complaint against Defendant to collect

 delinquent contributions, liquidated damages, interest, audit fees, and attorneys’ fees and costs.

 Defendant was served with the summons, Complaint, and related materials on November 21, 2022

 in accordance with Rules 4(c) and (h) of the Federal Rules of Civil Procedure. See Aff. of Process

 Server, Dkt. No. 4. Plaintiffs filed a Motion for Leave to File an Amended Complaint on March 6,

 2023. See Dkt. No. 21. On March 8, 2023, the Court granted Plaintiffs’ Motion for Leave to Amend

 the Complaint and ordered that Defendant, through counsel, shall file an answer or other




 5
   The Amended Complaint states liquidated damages would be calculated as the greater of 20% of
 the delinquent contributions or the interest due. Am. Compl. ¶ 19(c). As interest is greater than
 20% of the delinquent contributions in this case, the liquidated damages now total $5,668.73.
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 responsive pleading within 14 days of the entry of the order. See Dkt. No. 25. Accordingly,

 Defendant’s Answer or other responsive pleading was due on March 22, 2023.

        Plaintiffs filed a Request and Affidavit for Clerk’s Entry of Default on March 23, 2023.

 See Request & Aff. for Clerk’s Entry of Default, Dkt. No. 29. The Clerk of Court entered default

 against Defendant on March 30, 2023. See Clerk’s Entry of Default, Dkt. No. 30. On the same day,

 the Funds filed a motion for default judgment, which Magistrate Judge Fitzpatrick heard on April

 21, 2023. Defendant failed to appear at the hearing.

        On July 5, 2023, Judge Fitzpatrick issued his report and recommendations. He found that

 this court had subject matter jurisdiction and personal jurisdiction, the venue was proper, and the

 Defendant was properly served. R&R, p. 3-5. He also found that default judgment may be entered

 against Defendant despite its attempt to appear pro se in this matter. R&R, p. 6. Judge Fitzpatrick

 found, however, that the Funds were not entitled to judgment by default because the Funds “failed

 to plead that Defendant was bound to the reporting or contribution terms and conditions at any

 time beyond July 31, 2017.” R&R, p. 11. He came to this conclusion because Defendant signed an

 MOU which he found expired on July 31, 2017 and the Funds did “not provide any additional

 agreement between Defendant and Local 28 that would have extended Defendant’s obligation to

 pay the Fund” beyond the expiration of the 2017 MOU. Id. Because the Funds seek amounts due

 for periods following July 31, 2017, default judgment was not appropriate on the record.

        Plaintiffs subsequently filed a renewed motion for default judgment setting forth an

 alternative basis for liability – that Defendant bound itself to the later collective bargaining

 agreements by conduct. Dkt. No. 49, 50. At hearing on the motion, Judge Fitzpatrick expressed

 concerned that the adoption by conduct theory was not adequately pled in the complaint so as to

 allow for default judgment. Dkt. No. 52. Accordingly, on September 29, 2023, Plaintiffs withdrew



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 the pending motions for default judgment. Dkt. No. 54. The same day, Plaintiffs filed a motion for

 leave to file a Second Amended Complaint which adequately pled the adoption by conduct theory.

 Dkt. No. 55. The motion was granted and Plaintiffs’ Second Amended Complaint docketed on

 October 3, 2023. Dkt. Nos. 58 & 59.

        On October 11, 2023, the Second Amended Complaint and related materials were served

 on Defendant in accordance with Rule 4(c) and (h) of the Federal Rules of Civil Procedure. See

 Affidavit of Process Server, Dkt. No. 61. Rule 15(a)(3) of the Federal Rules of Civil Procedure

 provides Defendant fourteen (14) days in which to file an answer or otherwise respond to the

 Second Amended Complaint. Accordingly, Defendant’s Answer or other responsive pleading was

 due on October 25, 2023. Defendant failed to file an answer or other responsive pleading.

        Plaintiffs filed a Request and Affidavit for Clerk’s Entry of Default on November 1, 2023.

 Dkt. No. 62. The Clerk of Court entered default against Defendant on November 7, 2023. Dkt. No.

 63.

                                           ARGUMENT

 I.     STANDARD FOR DEFAULT JUDGMENT

        The Court may enter a default judgment against a defendant who fails to defend its case.

 U.S. v. Moradi, 673 F.2d 725, 727 (4th Cir. 1982). Rule 55(b)(2) of the Federal Rules of Civil

 Procedure authorizes the Court to enter a default judgment against the defendant for relief claimed

 plus costs. Fed. R. Civ. P. 55(b)(2). A default judgment is appropriate for a party against whom a

 judgment for affirmative relief is sought and has failed to plead or otherwise defend as provided

 by the Federal Rules of Civil Procedure. Home Port Rentals, Inc. v. Ruben, 957 F.2d 126, 133 (4th

 Cir. 1992). Further, where a defendant fails to respond to the complaint, all factual allegations in

 the complaint are deemed admitted. Ryan v. Homecoming Fin. Network, 253 F.3d 778, 780 (4th



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 Cir. 2001); Partington v. Am. Int’l Specialty Lines Ins. Co., 443 F.3d 334, 341 (4th Cir. 2006)

 (default has the effect of admitting the factual allegations in complaint). In this case, Defendant

 has failed to defend in this case and a default judgment in favor of the Plaintiffs is appropriate.

 II.    DEFENDANT ADOPTED THE 2017 AND 2020 CBAS BY CONDUCT.

        Although it has been the position of Local 28 and the Funds that Defendant is signatory to

 the series of CBAs in this matter, even if Defendant was only signatory to a CBA expiring on July

 31, 2017, it was still bound to the successor CBAs by its conduct. In the absence of a signed writing

 specifically binding an employer to a collective bargaining agreement, an employer can adopt a

 collective bargaining agreement or other writing by conduct manifesting an intention to be bound

 by its terms. In Trustees of the Plumbers & Pipefitters National Pension Fund v. Plumbing

 Services., Inc., 791 F.3d 436 (4th Cir. 2015), this Court adopted the majority view6 that an

 employer adopts a collective bargaining agreement “by conduct manifesting an intention to be

 bound by its terms.” 791 F.3d at 448. Then, after holding that the particular employer had satisfied

 that standard, this Court identified only two facts in support of its finding: (1) the employer signed

 a letter of assent that required it to contribute to the pension plan as required by a collective

 bargaining agreement and (2) the employer made the required contributions to the pension plan.

 Id. at 447-48.




 6
   Consistent with this Court, the Fifth, Seventh, Ninth, Tenth and Eleventh Circuits hold that an
 intent to bound can be inferred from conduct. See Plumbing Services, 791 F.3d at 448; Bricklayers
 Local 21 of Ill. Apprenticeship & Training Program v. Banner Restoration, Inc., 385 F.3d
 761, 766 (7th Cir. 2004); S. Cal. Painters & Allied Trade District Council No. 36 v. Best Interiors,
 Inc., 359 F.3d 1127, 1131–33 (9th Cir. 2004); Carpenters Amended & Restated Health Benefit
 Fund v. Holleman Constr. Co., 751 F.2d 763, 770 (5th Cir. 1985); Trs. of Atl. Iron Workers, Local
 387 Pension Fund v. S. Stress Wire Corp., 724 F.2d 1458, 1459-60 (11th Cir. 1983); Arco Electric
 Co. v. NLRB, 618 F.2d 698, 699–700 (10th Cir. 1980).
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         Here, the same two facts are present. NY Chutes signed the 2015 MOU, which required

 reporting and contributions to the Funds, and it reported its hours to the Funds and made those

 contributions to the Funds when it self-reported covered hours. Accordingly, NY Chutes adopted

 the 2017 and 2020 CBAs by conduct.

         Although that is enough, the court can look at “other actions that might signal an

 employer’s intent to bind itself to a collective bargaining agreement. Evidence that an employer

 paid union wages, remitted union dues, or submitted itself to union jurisdiction (such as in a

 grievance procedure) all support adoption by conduct.” Bd. of Trs. v. Four-C-Aire, Inc., 42 F.4th

 300, 310 (4th Cir. 2022). In Bd. of Trs. v. Four-C-Aire, Inc., the Fourth Circuit considered that the

 employer deducted dues from its employees’ pay, responded to letters regarding late remittances,

 and complied with the Fund’s payroll audit. Id. Similar evidence can be found in this case. Here,

 NY Chutes deducted working assessments (commonly known as dues) from its employees’ pay.

 Meslin Decl. ¶ 8. It complied with the payroll audit of the National Funds and Local Funds and

 corresponded at length with the auditors and the Local Funds regarding the audit and its reporting

 requirements. Meslin Decl. ¶ 10; Geisler Decl. ¶¶ 19-21; Ex. 7, at 15-31. Its employees also earned

 service credit from the NPF for work performed during the covered period. July 2023 Geisler Decl.

 ¶ 14.

         In Four-C-Aire, the Fourth Circuit found communications between the employer and the

 union telling. It recounted that “after the company first tried to end its relationship with Local 58,

 . . . the union’s business manager responded that ‘its attempt to terminate the collective bargaining

 agreement was invalid and ineffective, . . . . [The company] didn’t respond that there was no CBA

 or that it had never seen [the agreement]. Rather, it sent a new notice that complied . . . with the

 termination procedures.” Id. at 310. Here, NY Chutes complied with the audit and did not take the



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 position that it had no obligation to comply under the CBAs; rather, it actually sent a letter to Local

 28 on December 21, 2021 seeking to withdraw from the union as of December 31, 2021. Meslin

 Decl. ¶ 7; Meslin Ex. 1. It later sent an email in March 2022 seeking to confirm that it had

 withdrawn from the union as of December 31, 2021. July 2023 Geisler Decl. ¶ 19. These

 communications are telling; Defendant acknowledged its obligations under the CBAs and only

 attempted to terminate those obligations upon its December 21, 2021 letter.

        Accordingly, as alleged in the complaint, Defendant was “bound by an agreement to make

 such contributions” to the Funds. When an employer adopts an agreement by conduct, there is no

 requirement it have actually signed the written agreement to which it is bound. It is enough that a

 written agreement exists (here, the 2017 and 2020 CBAs); it need not be “a written agreement to

 which an employer is bound which also carries that employer’s signature.” Four-C-Aire, 42 F.4th

 at 311 (addressing LMRA Section 302(c)’s requirement that contributions only be made to a trust

 fund if there is a specific written agreement setting forth the detailed basis for the payments).

 III.   BECAUSE THE DEFENDANT IS BOUND BY CONDUCT, THE FUNDS ARE
        ENTITLED TO FINAL JUDGMENT BY DEFAULT AGAINST DEFENDANT
        FOR AMOUNTS OWED UNDER ERISA AND THE LMRA.

        Because Defendant was bound to the 2017 and 2020 CBAs, it is liable for delinquent

 contributions resulting from its subcontracting of covered work and its failure to report covered

 hours as discovered by the audit under Section 515 of ERISA and Section 301 of the LMRA.7

        Section 515 of ERISA, 29 U.S.C. § 1145, provides:



 7
   Benefit trusts have standing to sue under 29 U.S.C. Section 185(a) as a third-party beneficiary to
 the collective bargaining agreement. Bakery & Confectionery Union & Indus. Int’l Pension Fund
 v. Ralph’s Grocery Co., 118 F.3d 1018, 1021-22 (4th Cir. 1997), as a separate but overlapping,
 basis for relief. See, e.g., Burgher v. Feightner, 722 F.2d 1356, 1359 (7th Cir. 1983) (the
 enforcement provisions of ERISA were “intended to supplement rather than supersede the right
 existing under 29 U.S.C. § 185(a)”).

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                Every employer who is obligated to make contributions to a
                multiemployer plan under the terms of the plan or under the
                terms of a collectively bargained agreement shall, to the
                extent not inconsistent with law, make such contributions in
                accordance with the terms and conditions of such plan or
                such agreement.
        The damages imposed on an employer who fails to make the required contributions due

 under a collective bargaining agreement are set forth in ERISA Section 502(g)(2), 29 U.S.C. §

 1132(g)(2), as follows:

         In any action under this title by a fiduciary for or on behalf of a plan to enforce
        section 515 in which a judgment in favor of the plan is awarded, the court shall
        award the plan--
                (A) the unpaid contributions,
                (B) interest on the unpaid contributions,
                (C) an amount equal to the greater of--
                        (i) interest on the unpaid contributions, or
                        (ii) liquidated damages provided for under the plan in an amount not
                        in excess of 20 percent (or such higher percentage as may be
                        permitted under Federal or State law) of the amount determined by
                        the court under subparagraph (A),
                (D) reasonable attorney's fees and costs of the action, to be paid by the
                defendant, and
                (E) such other legal or equitable relief as the court deems appropriate.

 29 U.S.C. § 1132(g)(2).

        As stated above, Defendant NY Chutes was bound to the CBAs with Local 28, and

 therefore was obligated under the Agreements and the Funds’ governing documents to remit

 contributions to the Plaintiff Funds in accordance with the Agreements. As Plaintiffs have

 established, via declaration, an audit of NY Chutes’ payroll records for the period of July 2016

 through December 2020, Defendant failed to report covered hours for work at a specific job site

 in 2019. Geisler Decl., ¶ 22. As a result, Defendant owes contributions, interest, liquidated

 damages, and audit fees for this covered work performed in 2019.

        Additionally, a plan may seek damages for an employer’s violation of a subcontracting

 provision. See Walsh v. Schlecht, 429 U.S. 401, 407 (1977). In such circumstances, the funds

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 calculate the required payments due from the delinquent employer measured by the hours worked

 by the subcontractor’s employees, regardless of whether the subcontractor’s employees benefit

 from such payments – meaning the plan is not required to provide benefits to subcontracted, non-

 employees of the employer for such hours. See id. at 407; see also Sheet Metal Workers' Health &

 Welfare Fund of N.C. v. Stromberg Metal Works, Inc., No. 5:21-CV-101-BO, 2021 BL 362052, at

 *10 (E.D.N.C. Sept. 22, 2021) (finding contributions were owed to the fund for temporary

 employees regardless of whether the temporary employees would ever receive benefits from the

 fund). This is because the plan still suffers an injury as a result of the improper subcontracting and

 is entitled to recovery.

         As stated by the Tenth Circuit in Trustees of the Teamsters Construction Workers Local

 No. 13 v. Hawg N Action, Inc., 651 F.2d 1384 (10th Cir. 1981), “the trustees are entitled to damages

 in a sum equal to that which they would have received if the agreement between the defendant and

 the union had been fully performed by all parties.” Hawg N Action, at 1386-87. Although the

 Fourth Circuit has not considered such a subcontracting case, other circuits that have considered

 the issue have come to the same conclusion. See, e.g., Trustees of Detroit Carpenters Fringe

 Benefit Funds v. Patrie Const. Co., 618 F. App’x 246, 256 (6th Cir. 2015); Flynn v. Dick

 Corp., 481 F.3d 824, 833 (D.C. Cir. 2007); Chi. Painters & Decorators Pension, Health &

 Welfare, & Deferred Sav. Plan Trust Funds v. Karr Bros., 755 F.2d 1285, 1290 (7th Cir. 1985);

 Brogan v. Swanson Painting Co., 682 F.2d 807, 809 (9th Cir. 1982).

         Here, Article III, Section 2(A) of the Agreement expressly prohibits Defendant from

 subcontracting any covered work to employers outside the collective bargaining unit. Because

 Defendant subcontracted covered work in 2020, the Funds are entitled to judgment for Defendant’s

 violation of the subcontracting provision, based on the covered hours determined by the audit.



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        In total, Defendant is liable to the Funds for at least $26,870.72 in contributions, interest,

 liquidated damages, and audit fees resulting from Defendant’s violation of the subcontracting

 provision of the CBAs and Defendant’s failure to report and remit contributions for covered work

 performed by its employees for the period of July 2016 through December 2020. Suppl. Geisler

 Decl., ¶ 21. Defendant also owes attorneys’ fees and costs in the amount of $11,418.58. See

 Declaration of Diana M. Bardes (“Bardes Decl.”), attached hereto. Plaintiffs are entitled to default

 judgment in these amounts, plus continuing interest.

                                          CONCLUSION

        For the reasons set forth above, the Court should enter default judgment against Defendant

 and in favor of Plaintiffs. Plaintiffs request that the Court enter judgment in the amount of

 $26,870.72 against Defendant for contributions, liquidated damages, audit fees, and interest.

 Plaintiffs further request an order requiring Defendant to pay Plaintiffs’ attorneys’ fees and costs

 in the amount of $11,418.58.


                                               Respectfully submitted,

                                                      /s/ Diana M. Bardes
                                               Diana M. Bardes (VA Bar No. 81831)
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 November 16, 2023




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16h day of November, 2023, I served the foregoing Brief

 in Support of Motion for Default Judgment and supporting documents upon Defendant by sending

 copies of the same via first class mail, postage prepaid, to the following addresses:

        New York Chutes
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        Lebanon, NJ 08833
        nychutes@gmail.com

                                                   /s/ Diana M. Bardes
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